

Matter of Kalp (2021 NY Slip Op 06743)





Matter of Kalp


2021 NY Slip Op 06743


Decided on December 2, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 2, 2021

PM-168-21
[*1]In the Matter of Susan M. Kalp, Also Known as Susan M. Palmer, an Attorney. (Attorney Registration No. 4977336.)

Calendar Date:November 29, 2021

Before:Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ.

Susan M. Kalp, Franklin, Tennessee, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Susan M. Kalp was admitted to practice by this Court in 2011 and lists a business address in Franklin, Tennessee with the Office of Court Administration. Kalp now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Kalp's application.
Upon reading Kalp's affidavit sworn to August 31, 2021 and filed October 14, 2021, and upon reading the November 22, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Kalp is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Susan M. Kalp's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Susan M. Kalp's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Susan M. Kalp is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Kalp is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Susan M. Kalp shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








